   Case 2:07-md-01873-KDE-MBN Document 13201 Filed 04/06/10 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA                                                 MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                SECTION “N-5"

                                                            JUDGE ENGELHARDT

                                                            MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Charlene McBroom v American Camper
Manufacturing, LLC d/b/a Ameri-Camp, et al,
Case No. 2:10-cv-260

______________________________________________________________________________

            PLAINTIFF’S OPPOSED MOTION TO EXTEND TIME TO
                 PERFECT SERVICE ON CERTAIN DEFENDANT
______________________________________________________________________________

       COMES NOW PLAINTIFF, Charlene McBroom, through counsel, and respectfully

requests additional time within which to perfect service on Defendant American Camper

Manufacturing, LLC d/b/a Ameri-Camp. In support thereof, Plaintiff shows the following:

       1.     Plaintiff’s Complaint was originally filed in the Southern District of Mississippi

on December 8, 2009.

       2.     Plaintiffs have proof of service for the following Defendants: the United States

Government was served through FEMA on March 22, 2010; the United State Government was

served through the Attorney General of the United States on March 22, 2010; the United States

Government through the United States Attorney for the Southern District of Mississippi was

served on March 17, 2010; and Defendant Bechtel was served on April 6, 2010.




                                               -1-
    Case 2:07-md-01873-KDE-MBN Document 13201 Filed 04/06/10 Page 2 of 3




           3.     In the same time frame in which Plaintiff served the above named Defendants,

Plaintiff mailed a Summons and Complaint to Defendant American Camper Manufacturing, LLC

d/b/a Ameri-Camp to the address listed on the Indiana Secretary of State Website. See the

certified mail receipt attached Exhibit “A” and the Indiana Secretary of State web page at

Exhibit “B”. However, said envelope was returned to Plaintiffs, marked “Forward time Exp

RTN to sender.” See Envelope, attached as Exhibit “C”. The Plaintiff has a pending attempt to

serve the registered agent at a different address. Out of an abundance of caution, counsel

therefore requests that this Court extend the time within which to serve Defendant American

Camper Manufacturing, LLC d/b/a Ameri-Camp.

           WHEREFORE PREMISES CONSIDERED, the Plaintiffs respectfully move this Court

to extend the deadline by an additional sixty (60) days to insure that service is perfected on all

parties.

           Respectfully submitted, this the 6 day of April, 2010.

                                                       By:            s / Rose M. Hurder
                                                                      Rose M. Hurder

OF COUNSEL:

John Hawkins, Esq., MS Bar No. 9556
Edward Gibson, Esq., MS Bar No. 100640
Rose M. Hurder, Esq., MS Bar No. 103040
HAWKINS, STRACENER & GIBSON, PLLC.
153 Main Street
Bay St. Louis, MS 39520
Ph. (228) 469-0785; Fx. (228) 467-4212
rose@hsglawfirm.net




                                                 -2-
    Case 2:07-md-01873-KDE-MBN Document 13201 Filed 04/06/10 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on April 6, 2010 I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system which will send a notice of electronic filing to all counsel of

record who are CM/ECF participants. I further certify that I mailed the foregoing document and

the notice of electronic filing by firs-class mail to all counsel of record who are non-CM/ECF

participants.



                                                                     s / Rose M. Hurder
                                                                     ROSE M. HURDER




                                                -3-
